                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiff,
                                                                     8:23CR174
       vs.
                                                            MOTION TO RECONSIDER
                                                                 DETENTION
JOHN C. SHORES, Jr.,

                       Defendant.

       COMES NOW the United States, by and through Kelli L. Ceraolo, Assistant United

States Attorney, and hereby moves this Court to revoke the order releasing Defendant John C.

Shores, Jr. on Conditions [#21] and reopen the hearing on detention pursuant to 18 U.S.C.

§ 3142(f)(2).

       In support of this motion, the Government asserts the following:

       1.       On August 10, 2023, Defendant was arrested on a Criminal Complaint warrant.

On August 16, 2023, the Government’s Motion for Detention was denied and Defendant was

released on conditions. [#33].

       2.       Also on August 16, 2023, a search warrant was filed (8:23MJ446) authorizing the

search of cell phones in Defendant’s possession at the time of his contact with law enforcement

on August 10, 2023. Federal agents have conducted a preliminary review of Defendant’s cell

phones and have obtained evidence relevant to this Court’s determination of the danger posed by

Defendant’s release.

       3.       Specifically, Defendant’s phones show multiple attempts to meet minors for sex,

including a conversation with a person who repeatedly indicates that she is 11 years old; a

conversation with a now identified 14-year-old female; and a conversation with a person who

indicates she is 16 years old. In addition to pressuring the minors to meet for the purpose of sex,
Defendant asks the 11-year-old to send images of herself and offers money to the 14-year-old

and 16-year-old in exchange for sex. In addition, Defendant’s devices show that Defendant

sought child pornography from other users offering to distribute child pornography online.

       4.      The evidence observed on Defendant’s devices was not previously known to the

Government or the Court and shows repeated, aggressive attempts to meet with minors for the

purpose of sex; solicitation of minors for commercial sex; and requests for minors to produce

child pornography. Defendant’s conduct reflects that his release poses a significant danger to the

community.

       The Government is requesting that an evidentiary hearing be set on this Motion to

Reconsider Detention.

                                                     Respectfully submitted,

                                                     UNITED STATES OF AMERICA,

                                              By:    s/ Kelli L. Ceraolo
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 30, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent notification of such filing to all
registered participants.


                                                      s/ Kelli L. Ceraolo
                                                      Assistant U.S. Attorney




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